                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                              KNOXVILLE DIVISION

   GREG ADKISSON, ET AL.,                     )
                 Plaintiffs,                  )   No. 3:13-CV-505-TAV-HBG
   v.                                         )
   JACOBS ENGINEERING GROUP, INC.,            )   Lead case consolidated with
                 Defendant.                   )
   ________________________________________
   KEVIN THOMPSON, ET AL.,                    )
                 Plaintiffs,                  )   No. 3:13-CV-666-TAV-HBG
   v.                                         )
   JACOBS ENGINEERING GROUP, INC.,            )   as consolidated with
                 Defendant.                   )
   ________________________________________
   JOE CUNNINGHAM, ET AL.,                    )
                 Plaintiffs,                  )
   v.                                         )   No. 3:14-CV-20-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,            )
                 Defendant.                   )
   ________________________________________
   BILL ROSE,                                 )
                 Plaintiff,                   )
   v.                                         )   No. 3:15-CV-17-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,            )
                 Defendant.                   )
   ________________________________________
   CRAIG WILKINSON, ET AL.,                   )
                 Plaintiffs,                  )
   v.                                         )   No. 3:15-CV-274-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,            )
                 Defendant.                   )
   ________________________________________
   ANGIE SHELTON, as wife and next of kin     )
   on behalf of Mike Shelton, et al.,         )
                 Plaintiffs,                  )   No. 3:15-CV-420-TAV-HBG
   v.                                         )
   JACOBS ENGINEERING GROUP, INC.,            )
                 Defendant.                   )
   ________________________________________
   JOHNNY CHURCH,                             )
                 Plaintiff,                   )
   v.                                         )   No. 3:15-CV-460-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,            )
                 Defendant.                   )

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   ________________________________________
   DONALD R. VANGILDER, JR.,                               )
                 Plaintiff,                                )
   v.                                                      )       No. 3:15-CV-462-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                         )
                 Defendant.                                )
   ________________________________________
   JUDY IVENS, as sister and next of kin,                  )
   on behalf of JEAN NANCE, deceased,                      )
                 Plaintiff,                                )
   v.                                                      )       No. 3:16-CV-635-TAV-HBG
   JACOBS ENGINEERING GROUP, INC.,                         )
                 Defendant.                                )
   ________________________________________


             PLAINTIFFS’ RESPONSE TO DEFENDANT’S SUPPLEMENTAL BRIEF IN
             SUPPORT OF MOTION FOR SUMMARY JUDGMENT PURSUANT TO THE
                       TENNESSEE SILICA CLAIMS PRIORITIES ACT

           Come Plaintiffs, by and through counsel, and hereby respond to Defendant Jacobs

   Engineering Group, Inc.’s (“Jacobs”) supplemental brief (Doc. 780) in support of its Motion for

   Summary Judgment Pursuant to the Tennessee Silica Claims Priorities Act. Jacobs filed its

   supplemental brief on August 19, 2021, claiming that recent deposition testimony from one of

   Plaintiffs’ experts—Elizabeth Ward, PhD.— “confirms that Plaintiffs have brought ‘silica claims,’

   and are therefore subject to the requirements of Tennessee’s Silica Claims Priorities Act

   (“TSCPA”).” This is demonstrably false. To support its specious claim, Jacobs has presented the

   Court with an absurd mischaracterization of Dr. Ward’s testimony, cherry picking select

   statements and citing them out of context while completely ignoring (and failing to cite for the

   Court) the considerable testimony from Dr. Ward directly contradicting Jacobs’ position.

           Jacobs makes much of the fact that Dr. Ward acknowledged in her deposition, as she did

   in her Rule 26 reports, that a large percentage of coal fly ash is “amorphous silica” and “crystalline

   silica” and thus that some of the fine particles of coal fly ash (i.e. PM 2.5) that caused many of the

   Plaintiffs injuries may have been silica particles. Jacobs insists that this confirms that Plaintiffs are

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   alleging injuries due to silica exposure. However, a simple, more complete reading of Dr. Ward’s

   testimony on the topic belies this assertion.

          Though acknowledging that some of the fine particulates in the Kingston fly ash may have

   been silica particles, as well as heavy metals and radionuclides, Dr. Ward made clear that PM 2.5

   is harmful because of its small particle size, not its chemical composition.

          Q.       So if I understand you correctly, the problem with small particulates, being
                   2.5, is the size of the particles, right? Not so much what the particles are
                   made of.

          A.       Yes. The medical – you know the scientific studies of PM 2.5 generally
                   demonstrate that particles of that size cause an array of health effects that
                   are . . . independent of the exact composition of that material. . . .

   Ex. 1 at 93. Dr. Ward further testified as follows:

          Q.       So I want to get an understanding from you, what is it about PM 2.5 that is
                   harmful to the body?

          A.       Well, the essence of my opinion and also Dr. Rajagopalan’s opinion, who
                   is really one of the . . . preeminent experts in the world on air pollution and
                   health effects is that it’s really the size of the PM 2.5 and not the
                   composition of PM 2.5 that represents the important health hazard related
                   to inhalation of these respirable particles. So these respirable particles are
                   hazardous regardless of their composition.

          Q.       So even if coal ash contained a number of other toxins beyond silica or
                   arsenic or the other things we’ve identified, would it be fair to say it’s
                   harmful to humans irrespective of that chemical composition? Is that what
                   you are saying, Doctor [Ward]?

          A.       That is exactly what I am saying, that all of the evidence points to the fact
                   that it’s the fact that these very small particles can get to the alveolar regions
                   of the lung and get to other regions of the body that is causing the
                   demonstrated health effects that we see in epidemiological studies.

   Ex. 1 at 275.

          As this testimony makes clear, Dr. Ward in no way indicated that Plaintiffs’ injuries were

   caused by exposure to silica particles. On the contrary, she was quite clear in stating her opinion



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   that even if some of the fine particulates in the Kingston fly ash were made of silica, it was not

   their chemical nature as silica particles, but rather their small size that caused Plaintiffs harm.

   Indeed, Dr. Ward carefully and articulately illustrated this distinction. Moreover, she consistently

   disagreed with opposing counsel’s leading questions on the topic, and in doing so, explained that,

   in fact, the classic injuries typically observed with silica and fibrogenic dust exposures were not

   actually observed in any of the Adkisson plaintiffs:

          Q.       And so it's your view that the silica particles in fly ash contributed to all
                  those health effects of the plaintiffs, the respiratory conditions, the
                  cardiovascular conditions, and lung cancer, right?

          A.      That is actually not my view. So the most important or the most -- and the
                  most prominent results of overexposure to silica is silicosis, which is a
                  pneumoconiosis. It's a specific kind of lung disease. We did not see any of
                  those -- we did not -- none of the plaintiffs whose medical histories I have
                  reviewed were determined to have silicosis; they had other kind of
                  respiratory problems, many of which are associated much more strongly
                  with small respirable particle exposure in air pollution than they are with
                  silica.

   Ex. 1 at 99.


          Q.      (BY MR. MODLIN) On Page 31 of your December 10th report, you claim
                  that exposure to silica can cause COPD, correct?

          A.      Right

          Q.      Are you saying that any of the Kingston workers have COPD because of
                  silica exposure or that silica exposure contributed to any of the plaintiffs'
                  COPD?

          A.      Again, in my broader understanding of the exposures that I've come to have
                  in the process of, you know, preparing my report and my rebuttal, I believe
                  that probably the most important cause of COPD -- most important
                  occupational cause of COPD in this instance is respirable particulates. I think
                  there's a great deal of evidence about, you know, from the air pollution
                  literature, about PM2.5 causing asthma exacerbations, causing COPD
                  exacerbations, causing respiratory irritation. I think that's what we are
                  seeing here in this cohort.



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          Q.     And we've already established that some of the respirable particulate in fly
                 ash is silica, right

          A.     We are not disagreeing that some of the respirable particulate in fly ash is
                 silica.

          Q.     So if the respirable particulate in fly ash caused the plaintiffs' COPD, then
                  silica contributed to that.

          MR. RINGGER: Object to the form.

          A.     Yeah, I don't think that's – I mean again, that is not the inference that I am
                 making based on my broad understanding of the exposures -- of the
                 exposures at this site or the silica literature. Certainly silicosis is the
                 predominant health effect associated with silica. COPD is sometimes seen
                 or has been documented in some of the studies, but the classical health effect,
                 the one that you see the most of is silicosis.

          Q.     I'm not asking about silicosis, I'm asking about COPD. And your claim is
                  that the fine particulate in the fly ash contributed to some of the plaintiffs'
                 COPD cases, correct?

          A.     Yes, that is correct.

          Q.     And you've already testified that some of the fine particulate in fly ash is
                 silica, right?

          A.    But the inference I'm making, the causal inference I'm making is based on
                data from small particulates, regardless of what's in there -- regardless of
                their composition. That's the primary scientific fact that I'm referring to.

   Ex. 1 at 106-08.

          Moreover, Dr. Ward later explains that PM2.5 is not a fibrogenic dust (such as silica), as it

   does not, in and of itself, cause the same sort of fibrosis-type injury – such as in silicosis or

   pneumoconiosis – that is the concern with fibrogenic dust exposure.

          Q.     Can PM2.5 cause interstitial lung disease?

          A.     I'm not aware that there's any evidence that PM2.5 causes interstitial lung
                  disease.

          Q.     Or what about silicosis?



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          A.      PM2.5, none of the PM2.5 studies in the general population have identified
                  silicosis as a health effect -- or a health -- or a condition that's in excess
                  among people exposed to PM2.5.

          Q.      Would PM2.5, without knowledge of its constituents, constituent be
                  considered a fibrogenic dust?

          A.     No, it would not.

          Q.     Does a dust that causes fibrogenic injury differ from the type of injury or the
                 type of dust that can lead to COPD?

          A.     My understanding, and it is reflected my report, is that interstitial lung
                 disease and pneumoconiosis do have distinct etiologies compared to asthma
                 and COPD, that there are only a certain class of compounds that causes these
                 kind of fibrogenic diseases, and there are many other types of exposures that
                 are associated with COPD and asthma, including -- including PM2.5.

          Q.     Is COPD a distinct condition from silicosis?

          A.      I'm not a pulmonologist, but it is my understanding as a generalist that it is
                  distinct condition from silicosis.

   Ex. 1 at 276-77.

          Not only does the above testimony directly contradict the brazen mischaracterizations of

   Dr. Ward’s testimony presented to this Court by Jacobs, it should thoroughly dispel the notion that

   any of the Adkisson plaintiffs are claiming injury due to silica or any other fibrogenic dust

   exposure. Accordingly, contrary to Jacobs’ continued assertions, Plaintiffs claims are not “silica

   claims” subject to the TSCPA, and for the reasons stated in Plaintiffs original Response (Doc.

   770), this Court should deny the subject Motion.




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   Date: August 26, 2021              RESPECTFULLY SUBMITTED,

                                      /s/ Louis W. Ringger, III
                                      Gregory F. Coleman, TN Bar No. 14092
                                      Louis W. Ringger, III, TN Bar No. 33674
                                      Adam A. Edwards, TN Bar No. 23253
                                      Mark E. Silvey, TN Bar No. 13415
                                      Justin G. Day, TN Bar No. 33267
                                      William A. Ladnier, TN Bar No. 34316
                                      MILBERG COLEMAN BRYSON
                                      PHILLIPS GROSSMAN PLLC
                                      First Horizon Plaza
                                      800 S. Gay Street, Suite 1100
                                      Knoxville, TN 37929
                                      T: (865) 247-0080
                                      F: (865) 522-0049
                                      gcoleman@milberg.com
                                      bringger@milberg.com
                                      aedwards@milberg.com
                                      msilvey@milberg.com
                                      jday@milberg.com
                                      wladnier@milberg.com

                                      DAVIS & WHITLOCK, P.C.
                                      Gary A. Davis, TN Bar No. 009766
                                      James S. Whitlock NC Bar No. 34303 (admission
                                       Pro Hac Vice)
                                      21 Battery Park Ave, Suite 206
                                      Asheville, NC 28801
                                      T: (828) 622-0044
                                      F: (828) 398-0435
                                      gadavis@enviroattorney.com
                                      jwhitlock@enviroattorney.com

                                      MARKET STREET LAW, PLLC
                                      James K. Scott, TN BPR No. 16893
                                      Keith D. Stewart, TN BPR No. 17574
                                      John Tyler Roper, TN BPR No. 21927
                                      625 Market Street, 14th Floor
                                      Knoxville, TV 37902
                                      T: (865) 888-9995
                                      F: (866) 245-0989
                                      jimscott264@gmail.com
                                      keithdstewart@gmail.com
                                      tylerroperlaw@gmail.com



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                                                   BRIDGEFRONT LAW GROUP PLLC
                                                   John B. Dupree
                                                   616 W. Hill Ave, 2nd Floor
                                                   Knoxville, TV 37902
                                                   T: (865) 223-5184
                                                   john.dupree@knoxtnlaw.com

                                                   FRIEDMAN, DAZZIO, ZULANAS &
                                                   BOWLING, PC
                                                   Jeffrey E. Friedman, AL Bar No. asb-6868-n77j
                                                    (admission Pro Hac Vice)
                                                   3800 Corporate Woods Drive
                                                   Birmingham, AL 35242
                                                   T: (205) 278-7000
                                                   F: (205) 278-7001
                                                   jfriedman@friedman-lawyers.com

                                                   Attorneys for Plaintiffs




                                     CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on August 26, 2021, a copy of the foregoing was

   filed electronically. Notice of filing will be sent by operation of the Court’s electronic filing system

   to all parties indicated on the electronic filing receipt. Parties may access the filing through the

   Court’s electronic filing system.

                                                   /s/ Louis W. Ringger, III
                                                   Louis W. Ringger, III

                                                   Attorney for Plaintiffs




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